Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 1 of 19 PageID:
                                   4482
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 2 of 19 PageID:
                                   4483
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 3 of 19 PageID:
                                   4484
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 4 of 19 PageID:
                                   4485
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 5 of 19 PageID:
                                   4486
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 6 of 19 PageID:
                                   4487
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 7 of 19 PageID:
                                   4488
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 8 of 19 PageID:
                                   4489
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 9 of 19 PageID:
                                   4490
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 10 of 19 PageID:
                                    4491
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 11 of 19 PageID:
                                    4492
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 12 of 19 PageID:
                                    4493
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 13 of 19 PageID:
                                    4494
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 14 of 19 PageID:
                                    4495
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 15 of 19 PageID:
                                    4496
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 16 of 19 PageID:
                                    4497
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 17 of 19 PageID:
                                    4498
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 18 of 19 PageID:
                                    4499
Case 2:18-cv-06296-JKS-CLW   Document 316   Filed 04/11/25   Page 19 of 19 PageID:
                                    4500
